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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF TEXAS
                             FORT WORTH DIVISION


CHAMBER OF COMMERCE OF
THE UNITED STATES OF
AMERICA; FORT WORTH
CHAMBER OF COMMERCE;
LONGVIEW CHAMBER OF
COMMERCE; AMERICAN
BANKERS ASSOCIATION;
CONSUMER BANKERS
ASSOCIATION; and TEXAS
ASSOCIATION OF BUSINESS,

  Plaintiffs,

v.                                              Case No.: 4:24-cv-213-P

CONSUMER FINANCIAL PROTECTION
BUREAU; and ROHIT CHOPRA, in his
official capacity as Director of the Consumer
Financial Protection Bureau,

  Defendants.


        BRIEF IN SUPPORT OF DEFENDANTS’ MOTION TO DISSOLVE THE
     PRELIMINARY INJUNCTION AND LIFT THE STAY OF THE LATE FEE RULE
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                                        INTRODUCTION

       In this litigation, Plaintiff trade associations challenge a Consumer Financial Protection

Bureau rule that reexamined and replaced an outdated regulatory safe harbor that allowed the

largest credit card companies in the country to charge unjustifiably high late fees, contrary to

Congress’s intent. The Bureau has estimated that the rule could save consumers more than $10

billion annually.

       In May, Plaintiffs obtained a preliminary injunction and stay of this rule. In granting the

preliminary injunction, the Court based its determination that Plaintiffs were likely to succeed on

the merits entirely on Plaintiffs’ constitutional challenge, which at the time was governed by the

Fifth Circuit’s precedent in Community Financial Services Ass’n of America, Ltd. v. CFPB

(CFSA), 51 F.4th 616, 638 (5th Cir. 2022), holding that the Bureau’s statutory funding mechanism

was unconstitutional. The Supreme Court has since reversed the Fifth Circuit’s decision and

determined that the Bureau’s funding mechanism satisfies the Appropriations Clause. CFPB v.

Cmty. Fin. Servs. Ass’n of Am., Ltd., 601 U.S. 416, 435 (2024).

       The Supreme Court’s opinion in CFSA is a substantial change in the law that justifies

dissolving the preliminary injunction, which now rests entirely on overruled precedent. While

Plaintiffs offered several statutory challenges as alternative grounds for relief in their preliminary

injunction motion, they have not established a likelihood of success on any of them. And the public

interest does not support continuing to stay a Bureau rule that would ensure credit card companies

comply with the limits Congress placed on late fees and return billions of dollars to customers

annually. Accordingly, Defendants the Consumer Financial Protection Bureau and Rohit Chopra,

in his official capacity as the Bureau’s Director, (collectively, “the Bureau”) respectfully request




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that the Court dissolve the preliminary injunction and lift the stay of the Bureau’s late fee rule.1

                                         BACKGROUND

        A. The CARD Act requires that credit card penalty fees be “reasonable and
           proportional.”

        Signed into law in May 2009, the Credit Card Accountability, Responsibility, and

Disclosure Act (the CARD Act) amended the Truth in Lending Act (TILA) to “establish fair and

transparent practices relating to the extension of credit.” See Pub. L. No. 111-24, 132 Stat. 1734,

1734 (2009). One area of concern the CARD Act tackled was the imposition of “excessive fees”

by credit card companies, S. Rep. 111-16 at 6 (2009)—including late fees, which had climbed on

average to $35 per late payment in 2007, up from less than $13 in 1994, H.R. Rep. 111-88 (2009).

The CARD Act therefore imposed new substantive limits on the fees that credit card companies

could charge consumers in certain circumstances. Among those new limits was TILA Section 149,

which requires that “[t]he amount of any penalty fee or charge that a card issuer may impose . . .

in connection with any omission with respect to, or violation of, the cardholder agreement”—

“including any late payment fee”—“shall be reasonable and proportional to such omission or

violation.” 15 U.S.C. § 1665d(a).

        At the time, Congress tasked the Federal Reserve Board with “establish[ing] standards for

assessing whether” any penalty fee, including a late payment fee, “is reasonable and proportional.”

Id. § 1665d(b) (2009). To guide the Board, the CARD Act laid out four factors for it to “consider”


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  The Court also has before it the Bureau’s motion to transfer or dismiss under 28 U.S.C. § 1406,
ECF No. 94, which is not yet fully briefed. See also In re Chamber of Com., No. 24-10463, 2024
WL 3042100, at *3 n.22 (5th Cir. June 18, 2024) (recognizing that this Court has not yet reached
the § 1406 question presented by Bureau’s motion and declining to reach the question itself). The
Bureau respectfully suggests that the Court should first decide that motion and resolve where this
case should be heard, before reaching the issues presented in this motion. However, the Bureau
files this motion now to ensure that, wherever this case ultimately lands, the significant questions
about the continued appropriateness of the preliminary injunction are ready for disposition.

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in that “required rulemaking”—(1) the costs incurred by creditors; (2) the deterrent effect on

cardholders; (3) cardholder conduct; and (4) any other factors “the Board may deem necessary or

appropriate.” Id. § 1665d(c) (2009). The statute also authorized—but did not require—the Board

to establish an amount “that is presumed to be reasonable and proportional to the omission or

violation to which the fee or charge relates.” Id. § 1665d(e) (2009). Issuers that imposed fees equal

to or less than any such “safe harbor” amount would be immunized from liability. Id.

       B. The Federal Reserve Board issues regulations implementing the CARD Act and
          setting an initial safe harbor amount.

       In June 2010, the Board issued a rule implementing the CARD Act’s penalty fee provision.

See 75 Fed. Reg. 37526 (June 29, 2010) (2010 Rule). The 2010 Rule provided credit card

companies with two routes for compliance with the new limitations on excessive fees.

       First, the Board provided that “[a] card issuer may impose a fee for violating the terms or

other requirements of an account if the card issuer has determined that the dollar amount of the fee

represents a reasonable proportion of the total costs incurred by the card issuer as a result of that

type of violation.” Id. at 37571 (codified at 12 C.F.R. § 226.52(b)(1)(i)). In the Board’s view, this

“cost analysis” provision was “consistent with Congress[’s] intent” because it “permits card issuers

to use penalty fees to pass on the costs incurred as a result of violations.” Id. at 37532, 37534. In

commentary adopted in the same rulemaking, the Board clarified that, for the purposes of this cost

analysis, issuers may not use penalty fees to recover “[l]osses”—i.e., credit card balances

(including fees and interest imposed) that issuers have had to charge off on their books, often

because consumers have failed to pay for a substantial amount of time—and any “associated costs”

of recovering those losses. Id. at 37585 (codified at 12 C.F.R. Pt. 1026, Supp. I, cmt. 52(b)(1)(i)-

2). While the Board recognized that “losses impose substantial costs on card issuers,” it determined

that requiring issuers to instead factor any risk of loss into their upfront annual rates—as they had


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historically done—was consistent with the CARD Act’s purposes of “promot[ing] transparency

and protect[ing] consumers from unanticipated increases in the cost of credit.” Id. at 37538.

       Second, and in the alternative, the 2010 Rule allowed credit card companies to charge

penalty fees consistent with a newly established safe harbor. Id. at 37572 (codified at 12 C.F.R.

§ 226.52(b)(1)(ii)). Although the Board recognized that it was only authorized—not required—to

create a safe harbor, it concluded that doing so would “facilitate compliance by issuers and increase

consistency and predictability for consumers.” Id. at 37540. In determining the appropriate safe

harbor amount, the Board lacked data on credit card issuer collection costs or deterrence, and

therefore did not engage in any of its own detailed analysis. See id. at 37540–43. And the Board

expressed “significant concerns” about the few empirical sources commenters had provided; it

concluded that the sole study on costs “significantly overstate[d] the fee amounts necessary to

cover” costs and “question[ed] the assumptions used” in the two studies on deterrence. Id. at

37541. Without significant relevant data to rely on, the Board reviewed the limited available

sources, see id. at 37540–43, and decided to set the safe harbor at $25 per violation, but it allowed

card issuers to charge $35 for subsequent violations of the same type during the next six billing

cycles, 12 C.F.R. § 226.52(b)(1)(ii)(A)–(B). The Board predicted that those new safe harbors

would be “generally sufficient to cover issuers’ costs and to deter future violations.” 75 Fed. Reg.

at 37542. The 2010 Rule provided that those safe harbors would be adjusted annually for inflation.

12 C.F.R. § 226.52(b)(1)(ii)(D).

       C. The Consumer Financial Protection Act transfers authority over the relevant
          CARD Act provisions to the Bureau.

       A month after the Board issued its CARD Act regulations, the Consumer Financial

Protection Act (CFPA) became law. Enacted to address the causes and effects of the 2008 financial

crisis, the CFPA tasks the Bureau “with ‘implement[ing]’ and ‘enforc[ing]’ a large body of


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financial consumer protection laws to ‘ensur[e] that all consumers have access to markets for

consumer financial products and services and that markets for consumer financial products and

services are fair, transparent, and competitive.’” Seila L. LLC v. CFPB, 140 S. Ct. 2183, 2191,

2193 (2020) (quoting 12 U.S.C. § 5511(a)). To carry out that mission, the CFPA transferred to the

Bureau authority over several laws, including TILA. 12 U.S.C. § 5481(12)(O), (14); id. § 5581;

see also Dodd-Frank Wall Street Reform and Consumer Protection Act, Pub. L. No. 111-203,

§ 1000A(2), 124 Stat. 1376, 2107 (2010) (amending TILA Section 149 to include references to the

Bureau, but otherwise leaving the penalty fee provision substantively intact).

       In 2011, the Bureau issued an interim final rule repromulgating TILA’s implementing

regulation, Regulation Z. That rule included the Board’s restriction on penalty fees in identical

form. See 76 Fed. Reg. 79768, 79821 (Dec. 22, 2011); see also 81 Fed. Reg. 25323, 25325 (Apr.

28, 2016) (adopting interim final rule as final). That provision is now codified at 12 C.F.R.

§ 1026.52(b). Over the next decade, the Bureau updated the safe harbor amounts for inflation but

otherwise did not alter the Board’s rule. See, e.g., 86 Fed. Reg. 60357-02, 60359 (Nov. 2, 2021).

Until the most recent rulemaking, the regulation insulated all card issuers from liability for

imposing penalty fees of up to $30 for a first violation and $41 for subsequent violations within

the next six billing cycles. See 12 C.F.R. § 1026.52(b)(1)(ii).

       D. The Board’s safe harbor allowed larger card issuers to charge late fees that were
          not “reasonable and proportional” to the omission or violation.

       A decade on from the Board’s implementation of the penalty fee provision based on limited

data, the more robust data now available indicate that the late fee amounts charged by larger card

issuers have again ballooned out of proportion to the causes and consequences of consumers’ late

payments for those issuers—exactly the situation Congress intended to avert with the CARD Act.

The safe harbor has become the de facto industry standard for larger card issuers. In surveys of


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credit card agreements submitted to its publicly available database, the Bureau found that nearly

all the larger card issuers set a maximum late fee at or near the highest safe harbor amount, although

the same was not true of small banks and credit unions. See Credit Card Penalty Fees (Regulation

Z), 89 Fed. Reg. 19128, 19130 (Mar. 15, 2024) (“Late Fee Rule or Rule”); see also CFPB, Credit

Card Late Fees at 14 (Mar. 2022) (“2022 Late Fee Report”).2 There was no evidence of any larger

card issuers using the cost-analysis provision to charge a late fee above the safe harbor amounts,

89 Fed. Reg. at 19130, suggesting the safe harbor amount was more than enough to allow them to

recoup their costs. And with that safe harbor provision in place, major card issuers now take in

about five times more than is needed to cover relevant costs. Id. at 19155. In other words, the

existing penalty fee safe harbor, as originally set by the Board in 2010 and since adjusted for

inflation, has allowed larger issuers to charge amounts that are disproportionately high, and

therefore inconsistent with the statute.

        E. The Bureau amends § 1026.52(b) to eliminate the safe harbor that had proven
           unjustifiably high for larger card issuers and put in place one consistent with the
           CARD Act’s mandate that fees must be “reasonable and proportional.”

        On March 5, 2024—after a nearly two-year rulemaking process, including an advance

notice of proposed rulemaking seeking initial input and data on late fees—the Bureau issued a

final rule amending the late fee provisions in § 1026.52(b). Through that rulemaking process, the

Bureau determined that, for larger card issuers—those with one million or more open credit card

accounts—the existing discretionary safe harbor amounts for late fees that the Board had adopted

based on limited data were inconsistent with the CARD Act’s instruction that fees must “be

reasonable and proportional.” 89 Fed. Reg. at 19156. In fact, the Bureau’s analysis of an extensive



2
  Available at https://files.consumerfinance.gov/f/documents/cfpb_credit-card-late-
fees_report_2022-03.pdf (last visited July 8, 2024).

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data set cataloging certain larger card issuers’ collection costs revealed that the unjustifiably high

safe harbor had allowed late fee revenue to climb at least five times higher than relevant costs. Id.

The Bureau thus decided to repeal the existing safe harbor for larger card issuers, as originally set

by the Board and since adjusted for inflation. Id.

       But because the Bureau, like the Board, recognized the benefits of offering a discretionary

safe harbor, including the “compliance certainty and administrative simplicity” that it offered, the

Bureau adopted a new safe harbor for larger card issuers of $8, for both first and subsequent

violations. Id. at 19162. The Bureau’s data showed that an $8 fee would generally be sufficient for

most larger card issuers to recoup their costs, and that a fee set at that amount would still be a

substantial deterrent to paying late. Id. at 19158, 19162. Given evidence that larger card issuers’

costs are not “rising lockstep with inflation,” the Bureau also eliminated the provision for annual

adjustments for those larger card issuers to ensure that the safe harbor would not again come to

defy Congress’s instruction that fees be “reasonable and proportional.” Id. at 19175–76. The

Bureau instead determined that it will make any adjustments as needed going forward, based on

regular market monitoring. Id. As before, the safe harbor provision—which Congress authorized

but did not require the Bureau to provide—sets no cap on late fees. The minority of larger credit

card issuers that, in the Bureau’s estimate, may not be able to cover relevant costs with an $8

penalty can continue to impose higher fees, so long as the amount charged represents a reasonable

proportion of the costs incurred, on average, as a result of late payments. See id. at 19169. The

Late Fee Rule was originally set to go into effect 60 days after publication in the Federal Register—

on May 14, 2024. Id. at 19188.




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       F. Plaintiffs bring suit and secure a stay of the Rule under the Fifth Circuit’s then-
          precedent in CFSA.

       Two days after the Bureau published the Rule on its website, a group of trade associations

filed suit on behalf of their members against the Bureau. In their complaint, Plaintiffs raised a

constitutional challenge to the Rule based on the Fifth Circuit’s then-in-force precedent in

Community Financial Services Ass’n of America, Ltd. v. CFPB (CFSA), 51 F.4th 616, 638 (5th

Cir. 2022), which held that the Bureau’s statutory funding mechanism was unconstitutional and

accordingly invalidated a different rule promulgated using that funding. See Compl. ¶¶ 86–87

(Mar. 7, 2024), ECF No. 1. Plaintiffs also raised four Administrative Procedure Act (APA) claims.

See id. ¶¶ 88–107. Plaintiffs immediately moved for a preliminary injunction based on their

constitutional challenge and a subset of their APA claims focusing on the Rule’s purported

inconsistency with the CARD Act and TILA. See PI Mot. (Mar. 7, 2022), ECF No. 3; Br. in Supp.

of PI Mot. at 10–20 (Mar. 7, 2022), ECF No. 4 (“PI Br.”).

       Over the next several months, the case moved between the U.S. District Court for the

Northern District of Texas, the U.S. District Court for the District of Columbia, and the Fifth

Circuit as the parties litigated the appropriate venue for the case and Plaintiffs’ request for

preliminary relief. Two developments are of particular relevance for this motion.

       First, on May 10, the Court granted Plaintiffs’ motion for a preliminary injunction and

stayed the Late Fee Rule. See Op. & Order (May 10, 2024), ECF No. 82 (“PI Op.”). In its

evaluation of their likelihood of success on the merits, the Court ruled only that Plaintiffs were

likely to succeed on their challenge to the Bureau’s funding mechanism based on the Fifth Circuit’s

then-binding precedent in CFSA. Id. at 5–6. It did not reach any of Plaintiffs’ statutory arguments.

Id.




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        Second, six days after this Court’s preliminary injunction order, the Supreme Court

reversed the Fifth Circuit’s decision in CFSA. CFPB v. Cmty. Fin. Servs. Ass’n of Am., Ltd., 601

U.S. 416 (2024). In that opinion, the Supreme Court rejected the same challenge to the Bureau’s

statutory funding mechanism that Plaintiffs relied on here and held that the way Congress chose

to fund the Bureau in the CFPA “complies with the Appropriations Clause.” Id. at 421. As the

Bureau has previously explained, the Supreme Court decision in CFSA undermines the existing

stay of the Bureau’s Late Fee Rule. See Notice (May 17, 2024), ECF No. 90. The Bureau did not

immediately move to dissolve the preliminary injunction because it was uncertain at that point

whether this Court had jurisdiction to take any action given Plaintiffs’ then-pending preliminary

injunction appeal, see Defs.’ Scheduling Resp. at 2–3 (May 15, 2024), ECF No. 87, and because

renewing its request for transfer was consistent with this Court’s “longtime . . . practice” of first

addressing whether “venue is proper” before reaching any merits questions, PI Op. at 3. The

Bureau respectfully suggests that the Court follow that longtime practice here and resolve its

pending motion to transfer or dismiss under § 1406 before otherwise proceeding with this case.

See Br. in Supp. of Renewed Transfer Mot. at 6 (May 28, 2024), ECF No. 95 (moving to transfer

under § 1404 and in the alternative to transfer or dismiss under § 1406). But, to ensure that the

issue is ripe for decision at whatever time this Court (or a transferee court) deems appropriate, the

Bureau now moves to dissolve the preliminary injunction and lift the stay of the Late Fee Rule,

which was based entirely on a Fifth Circuit holding the Supreme Court has since reversed.

                                     LEGAL STANDARDS

        This Court has “broad and flexible equitable powers” to dissolve the preliminary injunctive

relief it has granted.3 Collum v. Edwards, 578 F.2d 110, 112 (5th Cir. 1978). Generally, a party


3
  Courts in this Circuit have evaluated motions to dissolve preliminary injunctions using their
inherent equitable powers, as well as under a variety of Federal Rules of Civil Procedure: Rule
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seeking to dissolve a preliminary injunction must “present a[] change in the operative facts or

relevant decisional or statutory law [to] warrant[] such relief.” Scionti v. Dornfried, 137 F.3d 1351

(5th Cir. 1998) (per curiam). When movants have shown such a change in facts or law, “[d]istrict

courts in the Fifth Circuit ‘apply the same standards in reviewing a preliminary injunction under a

motion to dissolve as they do in deciding whether to grant one in the first instance.’”

Grasshoppher, Inc v. Curtis, No. 1:24-cv-382-DII, 2024 WL 2031772, at *4 (W.D. Tex. May 7,

2024) (quoting Vaughn v. St. Helena Par. Police Jury, 261 F. Supp. 2d 553, 556 (M.D. La. 2002)).

In other words, the Court must evaluate whether, given the change in circumstances, the party that

originally sought the preliminary injunction can continue to show that “(1) there is a substantial

likelihood that [it] will prevail on the merits; (2) there is a substantial threat that irreparable harm

will result if the injunction is not granted; (3) the threatened injury outweighs the threatened harm




54(b), which allows for reconsideration of interlocutory orders as justice requires; Rule 59(e),
which covers motions “to alter or amend a judgment”; and Rule 60(b), which allows courts to
“relieve a party . . . from a final judgment, order, or proceeding” when, among other things,
“applying it prospectively is no longer equitable.” See Vaughn v. St. Helena Par. Police Jury,
261 F. Supp. 2d 553, 556 (M.D. La. 2002) (reviewing motion to dissolve without reference to
any federal rule); Providence Title Co. v. Truly Title, Inc., No. 4:21-cv-147-SDJ, 2021 WL
5003273, at *2–3 (E.D. Tex. Oct. 28, 2021) (applying Rule 54(b) because order granting
preliminary injunction is not final); Texas v. United States, No. 7:15-cv-00056-O, 2015 WL
13424776, at *1 (N.D. Tex. June 26, 2015) (citing case law using Rule 59(e) to determine
whether to dissolve preliminary injunction after change in law); Total Safety v. Knox, No. 4:19-
cv-02718, 2019 WL 6894683, at *2 (S.D. Tex. Dec. 18, 2019) (applying Rule 60(b)).
        The exact standard the Court chooses to use here makes no difference because the
Supreme Court’s intervening decision in CFSA would entitle the Bureau to relief under any
possible mechanism: Under the Court’s inherent equitable powers or under Rule 54(b) because
the Supreme Court’s vacatur of governing precedent is sufficient reason to reconsider the
preliminary injunction, Austin v. Kroger Tex., L.P., 864 F.3d 326, 336 (5th Cir. 2017); under
Rule 59(e) because there has been “an intervening change in the controlling law,” Schiller v.
Physicians Res. Grp. Inc., 342 F.3d 563, 567 (5th Cir. 2003); and under Rule 60(b) because there
has been “a significant change . . . in law” that “renders continued enforcement [of the
preliminary injunction] detrimental to the public interest,” Total Safety, 2019 WL 6894683, at *2
(internal quotation marks omitted).

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to the defendant; and (4) the granting of the preliminary injunction will not disserve the public

interest.” Id.

                                             ARGUMENT

    I.       The Supreme Court’s decision in CFSA fatally undermines the justification for
             the May 10, 2024, preliminary injunction.

          In its preliminary injunction decision, the Court held that Plaintiffs had shown a substantial

likelihood of success on the merits—necessary to their bid for a preliminary injunction—based on

the Fifth Circuit’s constitutional holding in CFSA. See PI Op. at 5–6; see also PI Br. at 9 (arguing

likelihood of success on claim that “[t]he CFPB promulgated the Final Rule with funds drawn in

violation of the Appropriations Clause”). Just six days after this Court entered that order, the

Supreme Court reversed the Fifth Circuit’s decision in CFSA and held that “the Bureau’s funding

mechanism does not violate the Appropriations Clause.” CFPB v. CFSA, 601 U.S. at 424. With

Justice Thomas writing for a seven-justice majority, the Court held that the “Bureau’s funding

statute contains the requisite features of a congressional appropriation” and “fits comfortably

within the First Congress’ appropriations practice,” so it satisfies “the requirements of the

Appropriations Clause.” Id. at 435. The Supreme Court’s decision in CFSA means that Plaintiffs

are no longer able to show a likelihood of success on the merits on their constitutional claim. It is

therefore a significant change in the law that warrants granting the Bureau’s request to dissolve

the preliminary injunction. See Scionti, 137 F.3d at 1351.

    II.      Plaintiffs have not established a likelihood of success on the merits on any other
             claim raised in their preliminary injunction motion, so there is no justification for
             continuing to stay the Late Fee Rule.

          The Bureau anticipates that Plaintiffs will ask the Court to continue the stay of the Late

Fee Rule, and refuse to dissolve the preliminary injunction, based on alternative merits arguments

raised in their March 7 preliminary injunction motion. In that motion, Plaintiffs argued that they


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are likely to succeed on their claims that (1) “the Final Rule rests on an unlawful interpretation of

the CARD Act” and (2) the Rule’s “effective date . . . violates TILA.” PI Br. at 10. Plaintiffs

continue to bear the burden of establishing their likelihood of success on these claims, to the extent

they seek to maintain preliminary relief on alternative grounds. Cf. Texas v. United States, No.

7:15-cv-00056-O, 2015 WL 13424776, at *1 (N.D. Tex. June 26, 2015) (dissolving preliminary

injunction because, “[i]n light of” intervening Supreme Court opinion, “the Court finds that the

Plaintiffs have not demonstrated a likelihood of success on the merits, as required by the four-

factor preliminary injunction test”); Matter of Fed. Bureau of Prisons’ Execution Protocol Cases,

No. 05-cv-2337, 2020 WL 5604298, at *2 (explaining that, at dissolution stage, court is guided by

familiar factors, including plaintiffs’ “likelihood of success”); Klevisha v. Provident Funding

Assocs. L.P., 128 F. Supp. 3d 399, 400 (D. Mass. 2015) (dissolving preliminary injunction because,

following clarification in governing law, “Plaintiff cannot demonstrate that she has a likelihood or

a substantial possibility of success on the merits”). Plaintiffs cannot carry that burden on either

point, so the Court has no grounds to continue the preliminary injunction. The Court should

therefore grant the Bureau’s request to dissolve the injunction and lift the stay of the Late Fee Rule.

           A. The Late Fee Rule’s approach to the penalty fee safe harbor is consistent with
              the CARD Act.

       In their preliminary injunction motion, Plaintiffs claimed that the Late Fee Rule exceeds

the Bureau’s statutory authority because it is inconsistent with the text of the relevant CARD Act

provision in two key ways. First, they argued that the Late Fee Rule does not allow them to charge

a “penalty fee” that is “reasonable and proportional” to customers’ late payments, even though the

CARD Act expressly allows them to charge such a fee. See PI Br. at 10–17 (citing 15 U.S.C.

§ 1665d). Second, they contended that the Bureau’s Rule improperly narrows the definition of

“costs,” as used in that statutory section. See id. at 17–19. Both of Plaintiffs’ arguments rest on a


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fundamental misreading of the statute, so they cannot establish any likelihood of success on this

claim.

         1. The CARD Act instructs that the amount of any penalty fee, including late payment fees,

“shall be reasonable and proportional” to the relevant “omission or violation” of “the cardholder

agreement.” 15 U.S.C. § 1665d(a). Rather than define “reasonable and proportional” itself, the Act

tasks the Bureau with implementing the provision and lays out a series of factors for it to

“consider” when doing so. See id. § 1665d(b), (c). “Consider” means “to think about carefully,”

or “to take into account.” Consider, Merriam-Webster.4 As the Fifth Circuit has observed, “the

term ‘consider’ does not compel a certain outcome, but rather it serves to inform the . . . careful

decision-making process.” ExxonMobil Pipeline Co. v. U.S. Dep’t of Transp., 867 F.3d 564, 573

(5th Cir. 2017). As a result, “Congress’s use of the term ‘consider’ in a statute requires an actor to

merely ‘investigate and analyze’ the specified factor, but not necessarily act upon it.” Id. (quoting

Cent. Valley Chrysler-Jeep v. Witherspoon, 456 F. Supp. 2d 1160, 1173 (E.D. Cal. 2006)); see

also Cent. Vermont Ry., Inc. v. ICC, 711 F.2d 331, 336 (D.C. Cir. 1983) (“As a general rule, when

a statute requires an agency to ‘consider’ a factor, the agency must reach an express and considered

conclusion about the bearing of the factor, but need not give any specific weight to the factor.”

(cleaned up)).

         These principles govern § 1665d and the Late Fee Rule implementing it. Because

Congress instructed the Bureau to “consider” the enumerated factors when “issuing rules

required by this section”—rather than defining a “reasonable and proportional” fee to be one that

accounts for them directly—the statute does not require Bureau regulations to incorporate those




4
    Available at https://www.merriam-webster.com/dictionary/consider (last visited July 8, 2024).

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factors in any particular way.5 Indeed, by telling the Bureau to also consider “such other factors”

it “deem[s] necessary or appropriate,” 15 U.S.C. § 1665d(c)(4), Congress explicitly recognized

that the Bureau is best positioned to determine how the rules ensure that penalty fees will be

reasonable and proportional based on the various considerations the statute lays out. In the Late

Fee Rule Plaintiffs challenge here, the Bureau adequately evaluated and discussed each

enumerated factor—costs, deterrence, consumer conduct, and other necessary or appropriate

factors—and explained how the final rule incorporates them. 89 Fed. Reg. at 19156–19169; see

also id. at 19162 (explaining that, while the $8 fee was calculated based on costs, the Bureau had

determined that it would adequately deter late payments and accounted for consumer conduct).

The Rule therefore does not exceed the Bureau’s statutory authority nor is it otherwise

inconsistent with the CARD Act; indeed, the new safe harbor amount is intended to ensure that

the statutory requirements and protections are fulfilled. To the extent Plaintiffs’ real complaint is

with how the Bureau weighed those factors, that amounts to an arbitrary and capricious

challenge, which Plaintiffs did not raise as grounds for a preliminary injunction. Such a

challenge would fail in any event because, as the Bureau will explain when relevant, it did

appropriately consider and weigh the various statutory factors when crafting the Late Fee Rule.

Those criticisms thus cannot support extending the stay of the Rule.




5
  To the contrary, Section 1665d did not even require the Bureau to directly consider the four
listed statutory factors when crafting the part of the Late Fee Rule that Plaintiffs object to most
strenuously—the decision to repeal the Board-set safe harbor and exercise its discretion to instate
a new, lower safe harbor. The portion of § 1665d listing statutory factors applies only to
rulemakings “required by this subsection,” 15 U.S.C. § 1665d(c), but the safe harbor is only an
authorized—not a required—rulemaking, see 15 U.S.C. § 1665d(e) (authorizing but not
requiring Bureau to set safe harbor). Regardless, even though not required, the Bureau did
consider all of the relevant statutory factors in deciding to repeal and reset the safe harbor for late
fees charged by larger card issuers. See 89 Fed. Reg. at 19156–69.

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         In an effort to undermine the Bureau’s well-grounded, common sense reading of the CARD

Act’s mandates, Plaintiffs focus single-mindedly on the moniker that the CARD Act uses for all

fees authorized under § 1665d—“penalty fees.” In Plaintiffs’ telling, a “penalty fee” cannot be

“solely compensatory,” but must also “deter[] the violation,” “account[] for the conduct of the

violation,” and act “as a pecuniary form of punishment” to the violator. PI Br. at 11. There are (at

least) two problems with this line of argument, as applied to the Late Fee Rule.

         First, nothing about the word “penalty” implies that a “penalty” fee must be set at an

amount higher than what’s necessary to compensate the other party. Traditional notions of what

counts as a penalty do not require that penalties be set at any specific level: Black’s Law

Dictionary, for instance, explains that a penalty can be merely some “extra charge against a party

who violates a contractual provision,” with a prepayment penalty cited as the paradigmatic

example. Penalty, Black’s Law Dictionary (12th ed. 2024); see also Penalty, Merriam-Webster6

(offering as one definition “the suffering or the sum to be forfeited to which a person agrees to be

subjected in case of nonfulfillment of stipulations”). That definition—which neatly encompasses

the penalty fees at issue in § 1665d—implies nothing about the relationship between the amount

of the penalty and the consequences of the violation. Plaintiffs’ argument also ignores that

Congress has used “penalty” to describe charges that are purely compensatory. For example, the

Bankruptcy Code gives priority to certain unsecured claims for “penalt[ies]” owed to government

units, but only when such penalty is “in compensation for actual pecuniary loss.” 11 U.S.C.

§ 507(a)(8)(G); see also In re Hovan, Inc., 96 F.3d 1254, 1258 (9th Cir. 1996) (distinguishing

between penalties that are compensatory and those that are punitive). Plaintiffs, then, are wrong to

presume that Congress’s use of the blanket term “penalty fee” to describe the types of charges


6
    Available at https://www.merriam-webster.com/dictionary/penalty (last visited July 8, 2024).

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covered by § 1665d was meant to create some substantive standard requiring late fees to be higher

than issuers’ associated costs.

       Second, Plaintiffs are also wrong to assume that a fee cannot provide for deterrence,

account for consumer conduct, or operate as a punishment if it is set at a level that does no more

than compensate the other party. The Late Fee Rule does all of those things, even while generally

being no more than enough to cover larger issuers’ costs. Contra PI Br. at 11. As for deterrence,

when it set the new $8 late fee safe harbor, the Bureau included a lengthy discussion of the

available empirical evidence on the deterrent effect of late fees. 89 Fed. Reg. at 19162–67. After

reviewing this evidence, the Bureau determined that an $8 safe harbor, although calculated based

on costs, would nevertheless operate as a deterrent to paying late. Id. at 19163. The Bureau

explained that late fees are but one of many adverse consequences consumers face if they pay late;

consumers may also lose grace periods, be subject to penalty interest rates, or see effects to their

credit scores when late payments are reported to credit bureaus. Id. at 19164–65. Especially given

those “other negative consequences of late payment,” the Bureau found no compelling evidence

that a higher late fee of $30 or $40 would be “sufficiently more of a deterrent . . . to justify late

fees far above cost. Id.

       The new $8 safe harbor also adequately incorporated an understanding of consumer

conduct (a phrase the statute does not define). Id. at 19167–69. For instance, the Bureau considered

how quickly consumers who incur a late fee tend to ultimately make the required payment—noting

that the majority of accounts come current within 30 days, before even issuers consider the

violation a serious enough form of consumer conduct to merit reporting to a credit reporting

agency. See id. at 19168. The Bureau also discussed the various reasons consumers may pay late




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and explained that lowering late fees may positively impact consumers’ ability to ultimately repay

their credit obligations. Id. at 19168–69.

        And the Rule likewise allows larger card issuers to charge fees that operate as a

“punishment” for consumers who pay late, despite Plaintiffs’ complaints to the contrary. Most

plainly, a late fee imposed under the Bureau’s Rule is still a negative consequence that cardholders

suffer as a result of late payment. Plaintiffs say that is not enough, analogizing to case law dealing

with fines and punitive damages that punish “act[s] society finds repugnant and seeks to deter.”

See PI Br. at 11 (quoting Indep. Petrochemical Corp. v. Aetna Cas. & Sur. Co., 944 F.2d 940, 947

(D.C. Cir. 1991)). But failing to pay the minimum amount due on a credit card bill by the due date

is hardly the kind of repugnant act that warrants heightened punishment; indeed, a breach of

contract like that traditionally would not suffice. See Barnes v. Gorman, 536 U.S. 181, 187 (2002)

(noting that punitive damages are traditionally not available for contract breach).7 In sum, the new

safe harbor does not somehow fail to operate as a “penalty” just because it does not incorporate

considerations of deterrence and consumer conduct, or operate as “punishment,” in the particular

way Plaintiffs wish.

        2. In their preliminary injunction motion, Plaintiffs separately took issue with the way the

Late Fee Rule addresses larger card issuers’ costs, contending that this, too, is inconsistent with




7
 Plaintiffs also ignore that consumers who pay their credit card bills late are not similarly situated,
with respect to the potential penalty, as those who may face fines or punitive damages in other
circumstances. To adequately deter wrongdoing in many civil and criminal contexts, penalties
must be set high enough to account for the reality that not every violator will be caught. See
Raymond Paternoster, How Much Do We Really Know About Criminal Deterrence?, 100 J. Crim.
L. & Criminology 765, 784 (2010) (explaining that certainty, severity, and celerity are all
“important deterrence variables”). But those who pay their credit cards late are guaranteed certain
and swift consequences—the immediate imposition of a late fee on their next bill.
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the CARD Act. See PI Br. at 17–19. This argument similarly misses the mark because the Bureau’s

consideration of costs is fully consistent with the statute.

       The CARD Act requires that, in determining what late fee is “reasonable and proportional,”

the Bureau evaluate the costs card issuers “incur[red] . . . from such” late payment. See 15 U.S.C.

§ 1665d(c). In commentary promulgated in the 2010 Rule, the Board explained that those costs

generally included the cost of collecting late payments, but clarified that “losses and associated

costs” must be excluded. 75 Fed. Reg. at 37527, 37538; see also 12 C.F.R. Pt. 1026, Supp. I, cmts.

52-b(1)(i)–2, 52(b)(1)(i)-6(i). As the Board explained, “although an account generally cannot

become a loss without” the cardholder first missing a payment, the eventual loss of the account,

as well as any costs of dealing with that loss, are not “incurred by the creditor from” the initial late

payment. 75 Fed. Reg. at 37538 (quoting 15 U.S.C. § 1665d(c)(1)).

       In its new Late Fee Rule, the Bureau offered a further clarification, in revised commentary

to Regulation Z, about how to handle collection costs issuers incur after an account must be

“charged off . . . as a loss” under loan-loss rules. See 89 Fed. Reg. at 19146–49. Such charge offs

typically happen after 180 days of delinquency, and collection costs after that point consist in large

part of commissions paid to third-party debt collectors. Id. at 19131, 19140. As the Bureau noted,

the vast majority of consumers who pay late ultimately cure their delinquency, and thus the late

payment never leads issuers to charge off their accounts or to incur post-charge-off collection

costs. Id. at 19148. So, consistent with the Board’s approach in its 2010 rulemaking, the Bureau

determined that any costs issuers incur after charge-off, for the small minority of accounts that

reach that point, are properly categorized as “losses and associated costs”—and should not be

recovered via late fees. Id. at 19148. In support, the Bureau reasoned that these post-charge-off




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costs “are not directly linked to the violation of the late payment,” but are instead “substantially

related to mitigating [the] loss.” Id. at 19148.

       Plaintiffs say that this clarification of the definition of “costs” is inconsistent with the

CARD Act because “[t]here is no basis in the statutory text to distinguish among costs.” PI Br. at

18. But, again, the statute instructs that the relevant costs are those “incurred by the creditor from

such omission or violation.” 15 U.S.C. § 1665d(c)(1) (emphasis added). The Bureau reasoned that

commissions paid to debt collectors and similar post-charge-off costs are more appropriately

attributed to the fact that a consumer has stopped paying entirely—not that a consumer may have

initially missed the payment deadline. 89 Fed. Reg. at 19148. Indeed, because only a small fraction

of accounts that incur late fees are ultimately written off, incorporating post-charge-off costs into

the late fee calculation would improperly require the majority of consumers who pay late to

compensate issuers for losses that have nothing to do with the conduct they engaged in. See id.

Plaintiffs may disagree with that determination, but this analysis of what constitutes an appropriate

“cost” is required by the statutory text and necessary to ensure that consumers are only charged a

late fee that is reasonable and proportional to their actual violations.

           B. The Late Fee Rule’s effective date does not violate TILA.

       In their preliminary injunction motion, Plaintiffs also claimed that the Late Fee Rule’s

effective date violates a section of TILA providing that any rule “requiring any disclosure which

differs from the disclosures previously required . . . shall have an effective date of that October 1

which follows by at least six months the date of promulgation,” 15 U.S.C. § 1604(d). See PI Br. at

19–20. The Late Fee Rule, however, is not a rule requiring any different disclosure within the

meaning of this provision. The statute’s disclosure requirements remain unchanged: Issuers must

disclose late payment fees at account opening, 12 C.F.R. § 1026.6(b)(2)(viii), in periodic

statements, id. § 1026.7(b)(11)(i)(B), and elsewhere. The Late Fee Rule may require larger issuers
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to change the amount they charge if their current fees are no longer justifiable, and they’ll have to

disclose that new amount. But that is not a new required disclosure. And credit card companies

have quickly changed the numerical amount of late fees on an annual basis, undermining any

complaint that the effective date here imposes an unreasonable burden that TILA disallows.

          Besides, even if Plaintiffs were correct—and they are not—this claim would entitle them

at most to a temporary delay of the effective date until October 1. See Neb. Dep’t of Health &

Hum. Servs. v. Dep’t of Health & Hum. Servs., 435 F.3d 326, 330 (D.C. Cir. 2006) (“[A]n

injunction must be narrowly tailored to remedy the specific harm shown.”). That’s because the

Court could sever the effective date provision from the remainder of the Late Fee Rule. See Davis

Cnty. Solid Waste Mgmt. v. EPA, 108 F.3d 1454, 1459 (D.C. Cir. 1997) (court will sever agency

action and affirm in part if “agency’s intent” to make regulations severable is clear, and if relevant

portions “operate entirely independently”); 89 Fed. Reg. at 19202 (explaining that any provision

of Late Fee Rule held invalid is severable). And, if § 1604(d) required such severance, that

statutory section would itself fill in the operative effective date, as it provides that covered

regulations “shall have an effective date of that October 1 which follows by at least six months the

date of promulgation.” See 15 U.S.C. § 1604(d). As a result, any defect in the effective date would

not establish that, at the end of this case, Plaintiffs are likely to secure an injunction against the

Rule as a whole.

   III.      The Court should reconsider its determination that the balance of the equities and
             public interest support a preliminary injunction.

          The two final considerations of the preliminary injunction analysis—the balance of the

equities and the public interest—merge where, as here, the government is the defendant. See Nken

v. Holder, 556 U.S. 418, 435 (2009). In this analysis, the Court must “pay particular regard for the

public consequences in employing the extraordinary remedy of injunction.” Winter v. Nat. Res.


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Def. Council, Inc., 555 U.S. 7, 24 (2008). Although the Court previously concluded that Plaintiffs

had established that the equities supported staying the Bureau’s Late Fee Rule, see PI Op. at 6–7,

it should reconsider that determination.8

        As the Bureau explained in its opposition to Plaintiffs’ preliminary injunction motion, an

injunction would burden the Bureau and the working Americans it seeks to protect—who currently

pay billions of dollars in unjustifiably high late fees annually, making it more difficult for them to

pay for necessities like food and medicine and, indeed, pay their credit card bills. See PI Opp’n at

23–24 (Mar. 12, 2024), ECF No. 23. Those burdens far outweigh the harm to Plaintiffs’ larger card

issuer members, who would lose only a relatively small proportion of their revenue. See id. The

Court did not directly address or weigh these harms in its initial preliminary injunction decision,

deciding instead to take the “‘do-no-harm’ approach”—which it took to mean granting the

preliminary injunction and staying the Bureau’s Late Fee Rule. See PI Op. at 7 (citing Nuziard v.

Minority Bus. Dev. Agency, No. 4:23-cv-00278-P, 2024 WL 965299, at *45 (N.D. Tex. Mar. 5,

2024)).9 The Bureau respectfully urges the Court to reconsider that approach.




8
 The Court has plenary authority to reconsider aspects of its previous preliminary injunction
opinion. Because that preliminary injunction order is interlocutory rather than final, the Court
can reconsider it, and any conclusions contained in it, under Rule 54(b), under which “the trial
court is free to reconsider and reverse its decision for any reason it deems sufficient, even in the
absence of new evidence or an intervening change in or clarification of the substantive law.”
Austin, 864 F.3d at 336.
9
  In Nuziard, this Court determined that it is “unclear whether an injunction must further public
interest or preserve the status quo” after comparing case law with two different formulations of
the public interest factor—some holding that the injunction must be “in the public interest,” and
others requiring only that “the public interest would not be disserved by a[n] . . . injunction.”
Nuziard, 2024 WL 965299, at *45 n.86 (first quoting Winter, 555 U.S. at 20, and then quoting
eBay, Inc. v. MercExchange, LLC, 547 U.S. 388, 391 (2006)). But neither formulation says
anything about the status quo, nor do they suggest that the public interest (whether it is served or
not disserved) is irrelevant and should be ignored in favor of maintaining the status quo.

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        Both the Supreme Court and Fifth Circuit have made clear that courts must balance the

equities and consider how an injunction would affect the public interest, regardless of whether an

injunction works to preserve some status quo. See Starbucks Corp. v. McKinney, 144 S. Ct. 1570,

1576 (2024) (“The default rule is that a plaintiff seeking a preliminary injunction must make a

clear showing . . . ‘that the balance of equities tips in his favor, and that an injunction is in the

public interest.’” (quoting Winter, 555 U.S. at 22)); Book People, Inc. v. Wong, 91 F.4th 318, 336

(5th Cir. 2024) (“A plaintiff seeking a preliminary injunction must establish . . . that the balance

of equities tip in his favor[] and that an injunction is in the public interest”). Indeed, the Fifth

Circuit has specifically cautioned that, although “[t]here is always a status quo” that could be

preserved, “[t]here should not be a preliminary injunction to protect it . . . unless the court’s ability

to render a meaningful decision on the merits would otherwise be in jeopardy.” Canal Auth. of

State of Fla. v. Callaway, 489 F.2d 567, 573 (5th Cir. 1974); see also Parks v. Dunlop, 517 F.2d

785, 787 (5th Cir. 1975) (“Maintenance of the status quo is only a sometimes concomitant of

preventing irreparable harm never the touchstone for such injunctive relief.”); Second Baptist

Church v. City of San Antonio, No. 5:20-cv-29-DAE, 2020 WL 6821334, at *3 (W.D. Tex. Feb.

24, 2020) (“[T]he focus of the court’s inquiry must be prevention of injury by a proper order, not

merely preservation of the status quo.”).

        That limited approach to considering the status quo makes sense: It avoids putting a thumb

on the scale in favor of granting preliminary relief in every challenge to a new law or regulation—

which would run afoul of the Supreme Court’s mandate that movants must carry their burden on

every element of the preliminary injunction test. And it recognizes that there are many instances

where maintaining the status quo is not in the public interest; after all, new laws and regulations

are put in place because the people’s elected representatives—or the agencies tasked with carrying



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out the mandates of those representatives—have determined that they are appropriate and in the

public interest.

        In this case, an injunction is not needed to preserve the Court’s ability to render a

meaningful decision on the merits. See PI Opp’n at 24 (“[T]he rules for late fees are not

irreproducible artifacts.”). And maintaining that status quo would disserve the public interest by

allowing larger card issuers to burden sometimes-struggling consumers with unjustifiably high late

fees under an outdated and unsupported regulatory safe harbor. Because the equities do not in fact

support a preliminary injunction, the Court should not continue the stay of the Bureau’s Late Fee

Rule.

                                         CONCLUSION

        For the foregoing reasons, the Court should dissolve the preliminary injunction and lift the

stay of the Bureau’s Late Fee Rule.



DATED: July 8, 2024                                   Respectfully Submitted,

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                               CERTIFICATE OF SERVICE

       I hereby certify that on July 8, 2024, a true and correct copy of this document was served

electronically by the Court’s CM/ECF system to all counsel of record.


                                                    /s/ Stephanie B. Garlock
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